Case 1:11-cr-00205-JAW Document 365 Filed 01/18/13 Page 1 of 2         PageID #: 642




                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


UNITED STATES OF AMERICA               )
                                       )
      v.                               )      1:11-cr-00205-JAW-08
                                       )
ED COGSWELL                            )


  ORDER ON DEFENDANT ED COGSWELL’S MOTION IN LIMINE TO
PRECLUDE EXPERT TESTIMONY FROM LAW ENFORCEMENT AGENTS

      With trial looming, Ed Cogswell moves in limine to limit the scope of law

enforcement officers’ testimony “to the steps of the investigation and precluding any

expert opinion testimony from law enforcement witnesses.” Def. Ed Cogswell’s Mot.

in Limine to Preclude Expert Test. From Law Enforcement Agents at 1 (ECF No.

359). Mr. Cogswell seeks to preclude law enforcement officers from testifying about

“(1) characteristics of drug dealers, (2) the modus operandi of drug dealers, (3) the

significance of their findings in this matter as it relates to drug dealing, (4)

interpreting the meaning or significance of evidence seized.” Id.

      Although the Government has not responded, the Court addresses this

motion because trial is scheduled next week and the answer is clear.         As Mr.

Cogswell recognizes, on December 17, 2012, the Court rejected a defense motion to

treat as experts law enforcement officers who testify about “certain aspects of drug

trafficking, such as the quantity of drugs consistent with personal use, the tools of

the drug trade, transportation of drugs, and interpretation of code works within
Case 1:11-cr-00205-JAW Document 365 Filed 01/18/13 Page 2 of 2          PageID #: 643




wiretapped conversations.” United States v. Razo, No. 1:11-cr-184-JAW, 2012 U.S.

Dist. LEXIS 178176 *11 (D. Me. Dec. 17, 2012).

      The Court based its ruling on First Circuit precedent.        United States v.

Valdivia, 680 F.3d 33, 49-51 (1st Cir. 2012); United States v. Maher, 454 F.3d 13, 24

(1st Cir. 2006); United States v. Ayala-Pizarro, 407 F.3d 25, 29 (1st Cir. 2005). In

his concurrence in Valdivia, Judge Lipez urged a reevaluation of the Circuit’s

position on this issue, but recognized that First Circuit precedent was binding on

the panel.   Valdivia, 680 F.3d at 56.     As the Court observed in Razo, if the

Government chooses to do so, it is not prohibited from designating law enforcement

officers as experts. Razo, 2012 U.S. Dist. LEXIS 178176 *16-17 n.2. However,

under current First Circuit law, if they testify about the types of drug trafficking

activity described in Valdivia, the officers are not rendering expert opinions but are

testifying “comfortably within the boundaries of permissible law opinion testimony.”

Valdivia, 680 F.3d at 50.

      The Court DENIES Defendant Ed Cogswell’s Motion in Limine to Preclude

Expert Testimony from Law Enforcement Agents (ECF No. 359).

      SO ORDERED.


                                 /s/ John A. Woodcock, Jr.
                                 JOHN A. WOODCOCK, JR.
                                 CHIEF UNITED STATES DISTRICT JUDGE

Dated this 18th day of January, 2013
